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                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION

--------------------------------------------------------------
                                                                  :
JOHNSON & JOHNSON, ETHICON, INC.,                                 :   Case No. 20-cv-3471
ETHICON US, LLC, and JOHNSON &                                    :
JOHNSON HEALTH CARE SYSTEMS INC.,                                 :
                                                                  :   CONSENT JUDGMENT AND
                                      Plaintiffs,                 :   PERMANENT INJUNCTION
                                                                  :
v.                                                                :
                                                                  :
ADVANCED INVENTORY MANAGEMENT,                                    :
INC. d/b/a ESUTURES.COM, ANTHONY                                  :
IADEROSA JR., JASON EINHORN, MIKE                                 :
PHIPPS, and MUDASSAR SHAH,                                        :
                                                                  :
                                      Defendants.                 :
---------------------------------------------------------------

       On consent of Plaintiffs Johnson & Johnson, Ethicon, Inc., Ethicon US, LLC, and
Johnson & Johnson Health Care Systems Inc. (collectively “Ethicon”) and Defendants Advanced
Inventory Management, Inc. d/b/a eSutures.com (“AIM”), Anthony Iaderosa Jr., Jason Einhorn,
and Mike Phipps (collectively, “eSutures”), it is hereby ORDERED, ADJUDGED, AND
DECREED:

         WHEREAS, on July 31, 2020, Ethicon filed a First Amended Complaint in Johnson &
Johnson et al. v. Advanced Inventory Management, Inc. d/b/a eSutures.com et al., No. 1:20-cv-
3471 (the “Action”) in the United States District Court for the Northern District of Illinois (the
“Court”), asserting claims for, among other things, federal and state trademark infringement, false
description and designation of origin in commerce, federal false advertising, federal and state
trademark dilution and counterfeiting, state deceptive and unfair trade practices, common law
unfair competition, common law unjust enrichment, common law tortious interference with
contract, and breach of settlement agreement, all of which claims, Ethicon has alleged, have given
rise to significant damages;

        WHEREAS, on September 14, 2020, AIM and Phipps filed counterclaims against Ethicon
in the Action, asserting claims for wrongful seizure, tortious interference with business
relationships, and trespass to chattels, all of which claims, AIM and Phipps have alleged, have
given rise to significant damages;


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               NOW THEREFORE:

                1.      eSutures, along with its principals, agents, attorneys, members, servants,
employees, directors, officers, parents, successors, heirs, assigns, executors, representatives, and
subsidiaries, and all other persons in active concert and participation with them, or who
otherwise aid and abet eSutures, are permanently enjoined from manufacturing, buying, selling,
importing, marketing, advertising, distributing, or in any way using in commerce worldwide any
goods, including authentic goods, manufactured, distributed, marketed or sold by or for Johnson
& Johnson or its current or future direct or indirect subsidiaries (the “Johnson & Johnson
Products”). eSutures shall consult Johnson & Johnson’s yearly 10-K filings to determine
Johnson & Johnson’s direct and indirect subsidiaries. A list of Johnson & Johnson’s direct and
indirect subsidiaries as of the date of this Consent Judgment and Permanent Injunction is
attached hereto as Appendix A. Ethicon shall also have the right, but not the obligation, to notify
eSutures of any new direct or indirect subsidiaries Johnson & Johnson acquires.

                 2.     If in the future Johnson & Johnson acquires a new direct or indirect
subsidiary, and eSutures has products in its inventory manufactured, distributed, marketed or
sold by that subsidiary, then eSutures will have six (6) months from the date of notice provided
by Ethicon of the acquisition of the subsidiary or from the date of the Johnson & Johnson 10-K
filing that includes the new subsidiary, whichever is earlier, to sell or otherwise dispose of such
products. If in the future any current or future direct or indirect subsidiary of Johnson & Johnson
ceases to be owned by Johnson & Johnson, then eSutures shall no longer be enjoined from
manufacturing, buying, selling, importing, marketing, advertising, distributing, or in any way
using in commerce worldwide any goods that were or are at any time manufactured, distributed,
marketed or sold by that subsidiary regardless of whether trademarks registered to Johnson &
Johnson continue to appear on such goods, except that eSutures shall not sell any product that
has on it a trademark that has not been sold and is registered to or owned by Johnson & Johnson
or any of its remaining subsidiaries.

                3.      eSutures, along with its principals, agents, attorneys, members, servants,
employees, directors, officers, parents, successors, heirs, assigns, executors, representatives, and
subsidiaries, and all other persons in active concert and participation with them, or who
otherwise aid and abet eSutures, are further permanently enjoined from mentioning “Ethicon,”
“Johnson & Johnson,” or any of Johnson & Johnson’s current or future direct or indirect
subsidiaries, or using any of the Johnson & Johnson Products in its publicity, promotion, or
advertising including, without limitation, on any domain name, website, uniform resource locator
(URL), Internet store, or online marketplace platform, including, without limitation, eBay,
Amazon, and Alibaba.

                4.      eSutures, along with its principals, agents, attorneys, members, servants,
employees, directors, officers, parents, successors, heirs, assigns, executors, representatives, and
subsidiaries, and all other persons in active concert and participation with them, or who
otherwise aid and abet eSutures, are further permanently enjoined from using any logo, trade
name, or trademark which may be calculated to falsely represent or which has the effect of
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falsely representing that the services or products of eSutures are sponsored by, authorized by, or
in any way associated with Ethicon, Johnson & Johnson, or any of Johnson & Johnson’s current
or future direct or indirect subsidiaries, or affixing, applying, annexing, or using in connection
with the sale of any goods a false description or representation including words or other symbols
tending to falsely describe or represent such goods as being Ethicon products, or engaging in any
act which is likely to cause the trade, retailers, or members of the purchasing public to believe
that eSutures is associated with Ethicon, Johnson & Johnson, or any of Johnson & Johnson’s
current or future direct or indirect subsidiaries.

              5.       Nothing in the preceding paragraphs is intended to enjoin individual
employees, officers, or principals of eSutures from making personal, non-business purchases and
use of Johnson & Johnson Products.

                 6.      If from time to time eSutures accidentally, inadvertently, or otherwise
comes into possession of Johnson & Johnson Products, then eSutures shall immediately isolate
the product from the remainder of eSutures’ inventory and shall promptly return the product to
the person or entity to which it belongs or shall destroy the product but in no case shall eSutures
sell or redistribute the product. eSutures shall provide a report of all such products and their
disposition to Ethicon on a quarterly basis. To the extent that following the Seizure Order
entered in this case any products bearing the Ethicon Marks, as defined at Dkt. No. 31, have
inadvertently come into eSutures’ possession and have been maintained by eSutures in
accordance with the Temporary Restraining Order and/or Preliminary Injunction in this case,
then eSutures shall within fourteen (14) days after entry of this Consent Judgment and Permanent
Injunction provide them to Ethicon for destruction as set forth in Paragraph 7.

                7.     Fourteen days after the entry of this Consent Judgment and Permanent
Injunction, eSutures shall provide Ethicon with all Johnson & Johnson Products in its possession,
custody or control. Ethicon shall pick up all such goods at eSutures’s offices and warehouse.
Ethicon shall destroy such goods at its own expense. Ethicon shall also destroy, at its own
expense, all of the goods that were seized at eSutures during the execution of the Court’s seizure
order in June 2020.

                8.     Within fourteen days after entry of this Consent Judgment and Permanent
Injunction, each Party must destroy all Confidential Information (as defined in the
Confidentiality Order in the Action, Dkt. No. 65 (the “Confidentiality Order”)) and documents
marked “CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER” or “ATTORNEYS’
EYES ONLY.” For the avoidance of doubt, this paragraph includes but is not limited to all
records, data, and electronic images obtained during the seizure in this Action in June 2020, and
Ethicon shall destroy or return to eSutures all electronic and physical records and data in its
possession that were seized from eSutures and its employees and principals in June 2020, except
that counsel for Ethicon may retain an archival copy of all court submissions (including
pleadings and motion papers), transcripts, exhibits, legal memoranda, correspondence, or
attorney work product. Any retained records will continue to be protected under the
Confidentiality Order entered in this case.
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               9.     Within fourteen days after entry of this Consent Judgment and Permanent
Injunction, UnitedLex Corp., which the Court appointed as the custodian for records seized from
eSutures and its employees and principals in June 2020, shall destroy or return to eSutures all
electronic and physical records and data in its possession that were seized from eSutures and its
employees and principals in June 2020.

                10.     eSutures and its parent companies, subsidiaries, and affiliates shall
maintain complete records of their purchases and sales of all Johnson and Johnson Products for a
period of ten years following entry of this Consent Judgment and Permanent Injunction. For a
period of ten years following entry of this Consent Judgment and Permanent Injunction, Ethicon
shall have the right, upon at least thirty days prior written notice, to have an independent firm
audit eSutures’s records of purchases and sales of all products purchased or sold by eSutures
after the date of this Consent Judgment. Ethicon’s right to such an audit shall not be exercised
more than once in any twelve-month period. In the event of such an audit, Ethicon shall ensure
that the independent auditor does not provide any information obtained from the audit to Ethicon
other than information relating to products purchased or sold by eSutures in violation of this
Consent Judgment and Permanent Injunction.

                11.    eSutures and its principals may not invest in, control, have any direct or
indirect ownership interest in, work for, lend money to, or participate in any business that
violates any term of this Consent Judgment or sells, manufactures or distributes Johnson &
Johnson Products. However, nothing in this order shall prohibit eSutures or its principals from
owning less than 5% of any corporation whose shares are traded freely on a stock exchange.

                12.     If eSutures is found by any court to have violated the prohibitions of this
Consent Judgment by selling authentic Johnson & Johnson Products, Ethicon is entitled at its
election to liquidated damages of one hundred times (100x) the list price of the authentic product
that eSutures sells (or has sold on its behalf by its principals, agents, attorneys, members,
servants, employees, directors, officers, parents, successors, heirs, assigns, executors,
representatives, and subsidiaries, and all other persons in active concert and participation with
them, or who otherwise aid and abet eSutures in violating this Consent Judgment) that violate
this Consent Judgment; or to Ethicon’s actual, statutory, and punitive damages. Liability of each
of AIM and Iaderosa will be joint and several among AIM and Iaderosa.

               13.    This Consent Judgment is based upon a Settlement Agreement in which
neither eSutures nor Ethicon makes an admission of liability or wrongdoing.

                 14.     Ethicon and eSutures each agree that jurisdiction and venue for an action
for contempt of this Consent Judgment exists in the United States District Court for the Northern
District of Illinois. In such an action, eSutures shall waive any and all defenses based upon
personal jurisdiction, subject matter jurisdiction, and venue.




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                15.    This Consent Judgment is entered pursuant to Rule 58 of the Federal Rules
of Civil Procedure, and this Action is hereby dismissed, with prejudice, as to eSutures and as to
Ethicon, without costs or attorneys’ fees, save that this Court shall retain jurisdiction over this
action, including, without limitation, over implementation of or disputes arising out of this
Consent Judgment with regard to eSutures or its principals, agents, attorneys, members, servants,
employees, directors, officers, parents, successors, heirs, assigns, executors, representatives, and
subsidiaries.

              16.   eSutures relinquishes all rights to the funds identified below (the “Frozen
Settlement Funds”):

     Bank Name               Account Title         Account Number                 Amount
                                                       Ending In
 Lakeside Bank           AIM                      0900                     $6,000,000

               17.    Upon service of this Order on Lakeside bank it shall transfer the Frozen
Settlement Funds from Advanced Inventory Management account 0900 to a non-interest-bearing
escrow account held by counsel for Plaintiffs at Citibank, Private Banking Division, 153 East
53th Street, New York, NY 10022, ABA # 021000089, Swift # CITIUS33, Account #               1288,
Account Name Patterson Belknap Webb & Tyler LLP Attorney Trust Account-IOLA.
Confirmation of the date and amount of each wire transfer shall be sent to counsel for Ethicon at
GPotter@pbwt.com and counsel for eSutures at GMarshall@bradley.com and
ESullivan@bradley.com. After the Frozen Settlement Funds are transferred Lakeside Bank shall
immediately unfreeze the account.

                 18.    The Court’s asset freeze (Dkt. No. 30, as modified by Dkt. Nos. 68, 284,
290) is hereby DISSOLVED and of no further force and effect. Except as provided for in
paragraph 17, upon service of this Consent Judgment upon any bank, brokerage house, or
financial institution holding frozen assets under the asset freeze order, such assets shall be
immediately unfrozen. Confirmation of the unfreezing of these assets shall be sent to counsel for
Plaintiffs at GPotter@pbwt.com and counsel for eSutures at GMarshall@bradley.com and
ESullivan@bradley.com.

               19.    Plaintiffs’ October 8, 2020 Atlantic Specialty Insurance Company
Undertaking on Preliminary Injunction, Bond Number 800-054-586, in the amount of
$750,000.00, is hereby released.

                20.   Signatures to this Consent Judgment transmitted electronically or by
facsimile shall be deemed original.

                                 {Signatures on following page}




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Dated: February __, 2021

CONSENTED AND AGREED TO BY:


 ___________________________________               _________________________________
BRADLEY J. ANDREOZZI (ARDC No.                     Jack Selden
 6286557)                                          Greg Marshall
MATTHEW M. MORRISSEY (ARDC No.                     Scarlett Nokes
 6302575)                                          Erin Sullivan
FAEGRE DRINKER BIDDLE & REATH LLP                  Michael Denniston
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Chicago, IL 60606-1698                             jselden@bradley.com
Tel:   (312) 569-1000                              gmarshall@bradley.com
Fax: (312) 569-3000                                snokes@bradley.com
bradley.andreozzi@faegredrinker.com                esullivan@bradley.com
matthew.morrissey@faegredrinker.com                mdenniston@bradley.com

  d
and                                                and

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    __
     ______
         _______
              _ ______________
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 ___________________________________               _________________________________
  EOF
    OFFR
       FREY
       FR
GEOFFREY  EYY POTTER
              POT TTER                             Alexander Vesselinovitch
ARON FISCHER (admission application to be          Matthew T. Connelly
 submitted)                                        D. Richard Self
TIMOTHY A. WATERS (admission                       FREEBORN & PETERS LLP
 application to be submitted)                      avesselinovitch@freeborn.com
JOSHUA R. STEIN                                    mconnelly@freeborn.com
JACQUELINE LASH                                    rself@freeborn.com
PATTERSON BELKNAP WEBB & TYLER
 LLP                                               Counsel for Defendants Advanced Inventory
1133 Avenue of the Americas                        Management, Inc. d/b/a eSutures.com,
New York, NY 10036-6710                            Anthony Iaderosa Jr., Jason Einhorn, and
Tel:    (212) 336-2000                             Mike Phipps
Fax: (212) 336-2222
gpotter@pbwt.com
afischer@pbwt.com
twaters@pbwt.com
jstein@pbwt.com
jlash@pbwt.com

 Attorneys for Plaintiffs Johnson & Johnson,
 Ethicon, Inc., Ethicon US, LLC, and Johnson
 & Johnson Health Care Systems Inc.

                                               6
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Johnson & Johnson                                Advanced Inventory Management, Inc. d/b/a
                                                 eSutures.com

By: ______________________________               By: ______________________________


Ethicon, Inc.                                    Anthony Iaderosa Jr.


     Oray B. Boston Jr.
By: ______________________________               By: ______________________________


Ethicon US, LLC                                  Jason Einhorn


By: ______________________________               By: ______________________________


Johnson & Johnson Health Care Systems Inc.       Mike Phipps


By: ______________________________               By: ______________________________




SO ORDERED:


________________________________
UNITED STATES JUDGE




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     Johnson & Johnson                                                            Advanced Inventory Management, Inc. d/b/a
                                                                                  eSutures.com

     By: ______________________________                                           By: ______________________________


     Ethicon, Inc.                                                                Anthony Iaderosa Jr.


     By: ______________________________                                           By: ______________________________


     Ethicon US, LLC                                                              Jason Einhorn
                          Digitally signed by Nefertiti Greene

       Nefertiti          DN: c=US, o=JNJ, ou=Subscribers,
                          0.9.2342.19200300.100.1.1=1039330,
                          cn=Nefertiti Greene
     By: ______________________________
                          Reason: I attest to the accuracy and integrity of       By: ______________________________
       Greene             this document.
                          Date: 2021.02.02 15:59:11 -05'00'
                          Adobe Reader version: 11.0.20




     Johnson & Johnson Health Care Systems Inc.                                   Mike Phipps


     By: ______________________________                                           By: ______________________________




     SO ORDERED:


     ________________________________
     UNITED STATES JUDGE




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                            Appendix A
                            3Dintegrated ApS
                            Acclarent, Inc.
                            Actelion Ltd
                            Actelion Manufacturing GmbH
                            Actelion Pharmaceuticals Australia Pty. Limited
                            Actelion Pharmaceuticals Korea Ltd.
                            Actelion Pharmaceuticals Ltd
                            Actelion Pharmaceuticals Mexico S.A. De C.V.
                            Actelion Pharmaceuticals Trading (Shanghai) Co., Ltd.
                            Actelion Pharmaceuticals UK Limited
                            Actelion Pharmaceuticals US, Inc.
                            Actelion Registration Limited
                            Actelion Treasury Unlimited Company
                            Akros Medical, Inc.
                            Albany Street LLC
                            ALZA Corporation
                            Alza Land Management, Inc.
                            AMO (Hangzhou) Co., Ltd.
                            AMO (Shanghai) Medical Devices Trading Co., Ltd.
                            AMO ASIA LIMITED
                            AMO Australia Pty Limited
                            AMO Canada Company
                            AMO Denmark ApS
                            AMO Development, LLC
                            AMO France
                            AMO Germany GmbH
                            AMO Groningen B.V.
                            AMO International Holdings
                            AMO Ireland
                            AMO Ireland Finance Unlimited Company
                            AMO Italy SRL
                            AMO Japan K.K.
                            AMO Manufacturing Spain S.L.
                            AMO Manufacturing USA, LLC
                            AMO Netherlands BV
                            AMO Nominee Holdings, LLC
                            AMO Norway AS
                            AMO Puerto Rico Manufacturing, Inc.
                            AMO Sales and Service, Inc.
                            AMO Singapore Pte. Ltd.
                            AMO Spain Holdings, LLC
                            AMO Switzerland GmbH
                            AMO U.K. Holdings, LLC
                            AMO United Kingdom, Ltd.
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                            AMO Uppsala AB
                            AMO US Holdings, Inc.
                            AMO USA Sales Holdings, Inc.
                            AMO USA, LLC
                            Animas Diabetes Care, LLC
                            Animas LLC
                            Animas Technologies LLC
                            AorTx, Inc.
                            Apsis
                            Aragon Pharmaceuticals, Inc.
                            Asia Pacific Holdings, LLC
                            Atrionix, Inc.
                            AUB Holdings LLC
                            Auris Health, Inc.
                            Backsvalan 2 Aktiebolag
                            Backsvalan 6 Handelsbolag
                            Beijing Dabao Cosmetics Co., Ltd.
                            BeneVir BioPharm, Inc.
                            Berna Rhein B.V.
                            BioMedical Enterprises, Inc.
                            Biosense Webster (Israel) Ltd.
                            Biosense Webster, Inc.
                            C Consumer Products Denmark ApS
                            Calibra Medical LLC
                            Campus-Foyer Apotheke GmbH
                            Carlo Erba OTC S.r.l.
                            Centocor Biologics, LLC
                            Centocor Research & Development, Inc.
                            ChromaGenics B.V.
                            Ci:Labo Customer Marketing Co., Ltd.
                            Ci:z. Labo Co., Ltd.
                            Cilag AG
                            Cilag GmbH International
                            Cilag Holding AG
                            Cilag Holding Treasury Unlimited Company
                            Cilag-Biotech, S.L.
                            CNA Development GmbH
                            Codman & Shurtleff, Inc.
                            Coherex Medical, Inc.
                            ColBar LifeScience Ltd.
                            Company Store.com, Inc.
                            Cordis de Mexico, S.A. de C.V.
                            Cordis International Corporation
                            Corimmun GmbH
                            CoTherix Inc.
                            CSATS, Inc.
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                            Darlain Trading S.A.
                            Debs-Vogue Corporation (Proprietary) Limited
                            DePuy France
                            DePuy Hellas SA
                            DePuy International Limited
                            DePuy Ireland Unlimited Company
                            DePuy Mexico, S.A. de C.V.
                            DePuy Mitek, LLC
                            DePuy Orthopaedics, Inc.
                            DePuy Products, Inc.
                            DePuy Spine, LLC
                            DePuy Synthes Gorgan Limited
                            DePuy Synthes Institute, LLC
                            DePuy Synthes Leto SARL
                            DePuy Synthes Products, Inc.
                            DePuy Synthes Sales, Inc.
                            DePuy Synthes, Inc.
                            Dr. Ci:Labo Co., Ltd.
                            DR. CI:LABO COMPANY LIMITED
                            Dutch Holding LLC
                            ECL7, LLC
                            EES Holdings de Mexico, S. de R.L. de C.V.
                            EES, S.A. de C.V.
                            EIT Emerging Implant Technologies GmbH
                            Ethicon Biosurgery Ireland
                            Ethicon Endo-Surgery (Europe) GmbH
                            Ethicon Endo-Surgery, Inc.
                            Ethicon Endo-Surgery, LLC
                            Ethicon Holding Sarl
                            Ethicon Ireland Unlimited Company
                            Ethicon LLC
                            Ethicon PR Holdings Unlimited Company
                            Ethicon Sarl
                            Ethicon US, LLC
                            Ethicon Women's Health & Urology Sarl
                            Ethicon, Inc.
                            Ethnor (Proprietary) Limited
                            Ethnor del Istmo S.A.
                            Ethnor Farmaceutica, S.A.
                            Ethnor Guatemala, Sociedad Anomina
                            Finsbury (Development) Limited
                            Finsbury (Instruments) Limited
                            Finsbury Medical Limited
                            Finsbury Orthopaedics International Limited
                            Finsbury Orthopaedics Limited
                            FMS Future Medical System SA
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                            GH Biotech Holdings Limited
                            Global Investment Participation B.V.
                            GMED Healthcare BV
                            Guangzhou Bioseal Biotech Co., Ltd.
                            Hansen Medical Deutschland GmbH
                            Hansen Medical International, Inc.
                            Hansen Medical UK Limited
                            Hansen Medical, Inc.
                            Healthcare Services (Shanghai) Ltd.
                            I.D. Acquisition Corp.
                            Innomedic Gesellschaft für innovative Medizintechnik und Informatik
                            mbH
                            Innovalens B.V.
                            Innovative Surgical Solutions, LLC
                            J & J Company West Africa Limited
                            J&J Pension Trustees Limited
                            J.C. General Services BV
                            Janssen Alzheimer Immunotherapy (Holding) Limited
                            Janssen Biologics (Ireland) Limited
                            Janssen Biologics B.V.
                            Janssen BioPharma, Inc.
                            Janssen Biotech, Inc.
                            Janssen Cilag Farmaceutica S.A.
                            Janssen Cilag S.p.A.
                            Janssen Cilag SPA
                            Janssen Cilag, C.A.
                            Janssen de Mexico, S. de R.L. de C.V.
                            Janssen Development Finance Unlimited Company
                            Janssen Diagnostics, LLC
                            Janssen Egypt LLC
                            Janssen Farmaceutica Portugal Lda
                            Janssen Global Services, LLC
                            Janssen Group Holdings Limited
                            Janssen Holding GmbH
                            Janssen Inc.
                            Janssen Irish Finance Company UC
                            Janssen Korea Ltd.
                            Janssen Oncology, Inc.
                            Janssen Ortho LLC
                            Janssen Pharmaceutica (Proprietary) Limited
                            Janssen Pharmaceutica NV
                            Janssen Pharmaceutica S.A.
                            Janssen Pharmaceutical
                            Janssen Pharmaceutical K.K.
                            Janssen Pharmaceutical Sciences Unlimited Company
                            Janssen Pharmaceuticals, Inc.
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                            Janssen Products, LP
                            Janssen R&D Ireland
                            Janssen Research & Development, LLC
                            Janssen Sciences Ireland Unlimited Company
                            Janssen Scientific Affairs, LLC
                            Janssen Supply Group, LLC
                            Janssen Vaccines & Prevention B.V.
                            Janssen Vaccines Corp.
                            Janssen-Cilag
                            Janssen-Cilag (New Zealand) Limited
                            Janssen-Cilag A/S
                            Janssen-Cilag AG
                            Janssen-Cilag Aktiebolag
                            Janssen-Cilag AS
                            Janssen-Cilag B.V.
                            Janssen-Cilag de Mexico S. de R.L. de C.V.
                            Janssen-Cilag Farmaceutica Lda.
                            Janssen-Cilag Farmaceutica Ltda.
                            Janssen-Cilag GmbH
                            Janssen-Cilag International NV
                            Janssen-Cilag Kft.
                            Janssen-Cilag Limited
                            Janssen-Cilag Limited
                            Janssen-Cilag Manufacturing, LLC
                            Janssen-Cilag NV
                            Janssen-Cilag OY
                            Janssen-Cilag Pharma GmbH
                            Janssen-Cilag Pharmaceutical S.A.C.I.
                            Janssen-Cilag Polska, Sp. z o.o.
                            Janssen-Cilag Pty Ltd
                            Janssen-Cilag S.A.
                            Janssen-Cilag s.r.o.
                            Janssen-Cilag, S.A.
                            Janssen-Cilag, S.A. de C.V.
                            Janssen-Pharma, S.L.
                            J-C Health Care Ltd.
                            Jevco Holding, Inc.
                            JJ Surgical Vision Spain, S.L.
                            JJC Acquisition Company B.V.
                            JJHC, LLC
                            JJSV Belgium BV
                            JJSV Manufacturing Malaysia SDN. BHD.
                            JJSV Norden AB
                            JJSV Produtos Oticos Ltda.
                            JNJ Global Business Services s.r.o.
                            JNJ Holding EMEA B.V.
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                            JNJ International Investment LLC
                            JNJ Irish Investments ULC
                            Johnson & Johnson
                            Johnson & Johnson - Societa' Per Azioni
                            Johnson & Johnson (Angola), Limitada
                            Johnson & Johnson (China) Investment Ltd.
                            Johnson & Johnson (Egypt) S.A.E.
                            Johnson & Johnson (Hong Kong) Limited
                            Johnson & Johnson (Ireland) Limited
                            Johnson & Johnson (Jamaica) Limited
                            Johnson & Johnson (Kenya) Limited
                            Johnson & Johnson (Middle East) Inc.
                            Johnson & Johnson (Mozambique), Limitada
                            Johnson & Johnson (Namibia) (Proprietary) Limited
                            Johnson & Johnson (New Zealand) Limited
                            Johnson & Johnson (Philippines), Inc.
                            Johnson & Johnson (Private) Limited
                            Johnson & Johnson (Thailand) Ltd.
                            Johnson & Johnson (Trinidad) Limited
                            Johnson & Johnson (Vietnam) Co., Ltd
                            Johnson & Johnson AB
                            Johnson & Johnson AG
                            Johnson & Johnson Belgium Finance Company BV
                            Johnson & Johnson Bulgaria EOOD
                            Johnson & Johnson China Ltd.
                            Johnson & Johnson Consumer (Hong Kong) Limited
                            Johnson & Johnson Consumer (Thailand) Limited
                            Johnson & Johnson Consumer B.V.
                            Johnson & Johnson Consumer Holdings France
                            Johnson & Johnson Consumer Inc.
                            Johnson & Johnson Consumer NV
                            Johnson & Johnson Consumer Saudi Arabia Limited
                            Johnson & Johnson Consumer Services EAME Ltd.
                            Johnson & Johnson d.o.o.
                            Johnson & Johnson de Argentina S.A.C. e. I.
                            Johnson & Johnson de Chile Limitada
                            Johnson & Johnson de Chile S.A.
                            Johnson & Johnson de Colombia S.A.
                            Johnson & Johnson de Costa Rica, S.A.
                            Johnson & Johnson de Mexico, S.A. de C.V.
                            Johnson & Johnson de Uruguay S.A.
                            Johnson & Johnson de Venezuela, S.A.
                            Johnson & Johnson del Ecuador, S.A.
                            Johnson & Johnson Del Paraguay, S.A.
                            Johnson & Johnson del Peru S.A.
                            Johnson & Johnson do Brasil Industria E Comercio de Produtos Para
                            Saude Ltda.
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                            Johnson & Johnson Dominicana, S.A.S.
                            Johnson & Johnson Enterprise Innovation Inc.
                            Johnson & Johnson European Treasury Company
                            Johnson & Johnson Finance Corporation
                            Johnson & Johnson Finance Limited
                            Johnson & Johnson Financial Services GmbH
                            Johnson & Johnson for Export and Import LLC
                            Johnson & Johnson Foundation Scotland (NON-PROFIT)
                            Johnson & Johnson Gateway, LLC
                            Johnson & Johnson Gesellschaft m.b.H.
                            Johnson & Johnson GmbH
                            Johnson & Johnson Guatemala, S.A.
                            Johnson & Johnson Health and Wellness Solutions, Inc.
                            Johnson & Johnson Health Care Systems Inc.
                            Johnson & Johnson Hellas Commercial and Industrial S.A.
                            Johnson & Johnson Hellas Consumer Products Commercial Societe
                            Anonyme
                            Johnson & Johnson Hemisferica S.A.
                            Johnson & Johnson Holding GmbH
                            Johnson & Johnson Holdings K.K.
                            Johnson & Johnson Inc.
                            Johnson & Johnson Industrial Ltda.
                            Johnson & Johnson Innovation - JJDC, Inc.
                            Johnson & Johnson Innovation Limited
                            Johnson & Johnson Innovation LLC
                            Johnson & Johnson International
                            Johnson & Johnson International (Singapore) Pte. Ltd.
                            Johnson & Johnson International Financial Services Company
                            Johnson & Johnson Japan Inc.
                            Johnson & Johnson K.K.
                            Johnson & Johnson Kft.
                            Johnson & Johnson Korea Ltd.
                            Johnson & Johnson Korea Selling & Distribution LLC
                            Johnson & Johnson Limitada
                            Johnson & Johnson Limited
                            Johnson & Johnson LLC
                            Johnson & Johnson Luxembourg Finance Company Sarl
                            Johnson & Johnson Management Limited
                            Johnson & Johnson Medical (China) Ltd.
                            Johnson & Johnson Medical (Proprietary) Ltd
                            Johnson & Johnson Medical (Shanghai) Ltd.
                            Johnson & Johnson Medical (Suzhou) Ltd.
                            Johnson & Johnson Medical B.V.
                            Johnson & Johnson Medical Devices & Diagnostics Group - Latin
                            America, L.L.C.
                            Johnson & Johnson Medical GmbH
                            Johnson & Johnson Medical Korea Ltd.
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                            Johnson & Johnson Medical Limited
                            Johnson & Johnson Medical Mexico, S.A. de C.V.
                            Johnson & Johnson Medical NV
                            Johnson & Johnson Medical Products GmbH
                            Johnson & Johnson Medical Pty Ltd
                            Johnson & Johnson Medical S.A.
                            Johnson & Johnson Medical S.p.A.
                            Johnson & Johnson Medical SAS
                            Johnson & Johnson Medical Saudi Arabia Limited
                            Johnson & Johnson Medical Servicios Profesionales S. de R.L. de C.V.
                            Johnson & Johnson Medical Taiwan Ltd.
                            Johnson & Johnson Medical, S.C.S.
                            Johnson & Johnson Medikal Sanayi ve Ticaret Limited Sirketi
                            Johnson & Johnson Middle East FZ-LLC
                            Johnson & Johnson Morocco Societe Anonyme
                            Johnson & Johnson Nordic AB
                            Johnson & Johnson Pacific Pty Limited
                            Johnson & Johnson Pakistan (Private) Limited
                            Johnson & Johnson Panama, S.A.
                            Johnson & Johnson Personal Care (Chile) S.A.
                            Johnson & Johnson Poland Sp. z o.o.
                            Johnson & Johnson Private Limited
                            Johnson & Johnson Pte. Ltd.
                            Johnson & Johnson Pty. Limited
                            Johnson & Johnson Research Pty Ltd
                            Johnson & Johnson Romania S.R.L.
                            Johnson & Johnson S.E. d.o.o.
                            Johnson & Johnson S.E., Inc.
                            Johnson & Johnson Sante Beaute France
                            Johnson & Johnson SDN. BHD.
                            Johnson & Johnson Services, Inc.
                            Johnson & Johnson Servicios Corporativos, S. de R.L. de C.V.
                            Johnson & Johnson Surgical Vision India Private Limited
                            Johnson & Johnson Surgical Vision, Inc.
                            Johnson & Johnson Taiwan Ltd.
                            Johnson & Johnson UK Treasury Company Limited
                            Johnson & Johnson Ukraine LLC
                            Johnson & Johnson Urban Renewal Associates
                            Johnson & Johnson Vision Care (Shanghai) Ltd.
                            Johnson & Johnson Vision Care Ireland Unlimited Company
                            Johnson & Johnson Vision Care, Inc.
                            Johnson & Johnson, S.A.
                            Johnson & Johnson, S.A. de C.V.
                            Johnson & Johnson, s.r.o.
                            Johnson & Johnson, s.r.o.
                            Johnson and Johnson (Proprietary) Limited
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                            Johnson and Johnson Sihhi Malzeme Sanayi Ve Ticaret Limited Sirketi
                            JOM Pharmaceutical Services, Inc.
                            La Concha Land Investment Corporation
                            Latam International Investment Company Unlimited Company
                            Lifescan
                            McNeil AB
                            McNeil Consumer Pharmaceuticals Co.
                            McNeil Denmark ApS
                            McNeil Healthcare (Ireland) Limited
                            McNeil Healthcare (UK) Limited
                            McNeil Healthcare LLC
                            McNeil Iberica S.L.U.
                            McNeil LA LLC
                            McNEIL MMP, LLC
                            McNeil Nutritionals, LLC
                            McNeil Panama, LLC
                            McNeil Products Limited
                            McNeil Sweden AB
                            MDS Co. Ltd.
                            Medical Device Business Services, Inc.
                            Medical Devices & Diagnostics Global Services, LLC
                            Medical Devices International LLC
                            Medical Industrial do Brasil Ltda.
                            Medos International Sarl
                            Medos Sarl
                            MegaDyne Medical Products, Inc.
                            Menlo Care De Mexico, S.A. de C.V.
                            Mentor B.V.
                            Mentor Deutschland GmbH
                            Mentor Medical Systems B.V.
                            Mentor Partnership Holding Company I, LLC
                            Mentor Texas GP LLC
                            Mentor Texas L.P.
                            Mentor Worldwide LLC
                            Micrus Endovascular LLC
                            Middlesex Assurance Company Limited
                            Momenta Ireland Limited
                            Momenta Pharmaceuticals, Inc.
                            NeoStrata Company, Inc.
                            NeoStrata UG (haftungsbeschränkt)
                            Netherlands Holding Company
                            Neuravi Inc.
                            Neuravi Limited
                            NeuWave Medical, Inc.
                            Novira Therapeutics, LLC
                            NuVera Medical, Inc.
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                            Obtech Medical Mexico, S.A. de C.V.
                            OBTECH Medical Sarl
                            OGX Beauty AU Pty Ltd
                            OGX Beauty Limited
                            OMJ Holding GmbH
                            OMJ Ireland Unlimited Company
                            OMJ Pharmaceuticals, Inc.
                            Omrix Biopharmaceuticals Ltd.
                            Omrix Biopharmaceuticals NV
                            Omrix Biopharmaceuticals, Inc.
                            Ortho Biologics LLC
                            Ortho Biotech Holding LLC
                            Ortho-McNeil Pharmaceutical, LLC
                            Orthotaxy
                            Patriot Pharmaceuticals, LLC
                            Peninsula Pharmaceuticals, LLC
                            Penta Pty. Limited
                            Percivia LLC
                            Perouse Plastie
                            Pharmadirect Ltd.
                            Pharmedica Laboratories (Proprietary) Limited
                            PMC Holdings G.K.
                            Princeton Laboratories, Inc.
                            Productos de Cuidado Personal y de La Salud de Bolivia S.R.L.
                            Proleader S.A.
                            PT Integrated Healthcare Indonesia
                            PT. Johnson & Johnson Indonesia
                            Pulsar Vascular, Inc.
                            Regency Urban Renewal Associates
                            RespiVert Ltd.
                            RoC International
                            Rutan Realty LLC
                            Scios LLC
                            Sedona Enterprise Co., Ltd.
                            Sedona Singapore International Pte. Ltd.
                            Sedona Thai International Co., Ltd.
                            Serhum S.A. de C.V.
                            Shanghai Elsker For Mother & Baby Co., Ltd
                            Shanghai Johnson & Johnson Ltd.
                            Shanghai Johnson & Johnson Pharmaceuticals Ltd.
                            Sightbox, LLC
                            Sodiac ESV
                            Spectrum Vision Limited Liability Company
                            Spectrum Vision Limited Liability Company
                            Spectrum Vision Limited Liability Partnership
                            Spine Solutions GmbH
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                            SterilMed, Inc.
                            Sterilmed, Inc.
                            Surgical Process Institute Deutschland GmbH
                            Synthes Costa Rica S.C.R., Limitada
                            SYNTHES GmbH
                            Synthes GmbH
                            Synthes Holding AG
                            Synthes Holding Limited
                            SYNTHES Medical Immobilien GmbH
                            Synthes Medical Surgical Equipment & Instruments Trading LLC
                            Synthes Produktions GmbH
                            Synthes Proprietary Limited
                            Synthes S.M.P., S. de R.L. de C.V.
                            Synthes Tuttlingen GmbH
                            Synthes USA Products, LLC
                            Synthes USA, LLC
                            Synthes, Inc.
                            TARIS Biomedical LLC
                            TearScience, Inc.
                            The Anspach Effort, LLC
                            The Vision Care Institute, LLC
                            Tibotec, LLC
                            Torax Medical, Inc.
                            TriStrata, Incorporated
                            UAB "Johnson & Johnson"
                            Vania Expansion
                            Verb Surgical Inc.
                            Vision Care Finance Unlimited Company
                            Vogue International LLC
                            Vogue International Trading, Inc.
                            WH4110 Development Company, L.L.C.
                            Xian Janssen Pharmaceutical Ltd.
                            XO1 Limited
                            Zarbee's, Inc.
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                                CERTIFICATE OF SERVICE


       I hereby certify that on February 3, 2021, I caused the foregoing to be served on all

counsel of record via the Court’s ECF system as well as by serving the documents via electronic

mail upon the following:



 Mudassar Shah (pro se)
 m.shah@esutures.com
 mudassarshah79@yahoo.com




                                                      /s/ Matthew Morrissey
